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   How major law firms are responding to Trump’s attacks

   Law firms are torn on how to handle the new Trump administration as the president targets some of their own.




                                     U.S. President Donald Trump speaks after signing executive orders in the Oval Office of the White House on

                                     March 06, 2025 in Washington, DC. | Alex Wong/Getty Images




                                     By   DANIEL   BARNES

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                                     Lawyers at some of the nation’s largest law firms are afraid of President Donald
                                     Trump. Not just afraid of what his policies might mean for their clients, but
                                     now for their own livelihoods, as his attacks on individual firms have left a
                                     shocked industry struggling to respond.

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                                 When Trump first took office in 2017, attorneys at Big Law firms lent
                                 thousands of pro-bono hours to legal efforts to stymie the administration’s
                                 most controversial policies, including the travel ban that restricted entry to the
                                 U.S. from certain Muslim-majority countries.

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                                 After his efforts to overturn the results of the 2020 election and the Capitol riot
                                 on Jan. 6, 2021, Trump became even more anathema to major firms; several of
                                 his criminal defense lawyers had to leave their firms in order to take him on as
                                 a client.


                                 Now, as he returns triumphant from the political wilderness, Trump finds a
                                 Washington legal community facing a dilemma — keep their heads down and
                                 avoid cases that may pit them against the administration, or continue
                                 representing clients that might anger a president increasingly willing to use his
                                 power to seek vengeance.

                                 “Back then nobody believed that there would be retaliation against the
                                 institution or them personally for taking these actions,” said a former partner
                                 at a major firm granted anonymity to speak candidly. “Nobody was thinking,
                                 I’ve got to worry whether it could really hurt my law firm if I took this on. And
                                 that’s the huge change we’re in now.”

                                 POLITICO talked to more than five lawyers for this story and most were
                                 granted anonymity in order to speak candidly without fear of Trump’s
                                 retribution. Much of the trepidation inside big firms comes from Trump’s new
                                 strategy of signing executive orders seemingly aimed at destroying firms in
                                 retaliation for perceived wrongs dating back a decade.

                                 On Friday, Trump signed an order sanctioning the firm Paul Weiss for the
                                 work of their former employee Mark Pomerantz, who later investigated
                                 Trump’s finances and payments to porn star Stormy Daniels for the Manhattan
                                 District Attorney’s office. Pomerantz resigned from the DA’s office in 2022
                                 before Trump was indicted. The order cuts the firm off from government
                                 contracts and even restricts their lawyers from entering certain government
                                 buildings.

                                 And earlier this month, Trump signed an executive order sanctioning Perkins
                                 Coie, punishing the firm for earlier work on behalf of Hillary Clinton.

                                 Trump’s grudge against Perkins dates back to the 2016 presidential campaign
                                 when now-former Perkins Coie lawyers working for Clinton’s campaign hired
                                 Fusion GPS, resulting in the infamous Steele dossier that alleged collusion

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                                 between Trump’s campaign and Russia. While the executive order ostensibly
                                 targets the firm for national security reasons and racially discriminatory hiring
                                 practices, the entire first paragraph is dedicated to Clinton, the dossier and
                                 MAGA bogeyman George Soros.
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                                 “We have a lot of law firms that we’re going to be going after because they were
                                 very dishonest people,” Trump said in a Fox News interview after signing the
                                 Perkins order. “They were very, very dishonest. I could go point after point
                                 after point, and it was so bad for our country.”

                                 A February order stripped security clearance from an employee at Covington &
                                 Burling who provided legal services to former special counsel Jack Smith, who
                                 criminally prosecuted Trump for his attempts to overturn the 2020 election
                                 and refusal to return classified materials stored at Mar-a-Lago. (Those cases
                                 have been dropped.) And on Monday, the acting chair of the U.S. Equal
                                 Employment Opportunity Commission sent letters to 20 major firms,
                                 suggesting their diversity and inclusion practices may violate civil rights laws
                                 and requesting extensive data on their use of race and sex in hiring. Trump has
                                 vowed to eliminate the use of DEI practices and previously directed the Justice
                                 Department to identify potential targets for civil and criminal investigation.

                                 “Law firms in America shouldn’t be fearful of President Trump, they should be
                                 fearful of the lawfare being perpetuated by federal judges hellbent on upending
                                 the Executive Branch,” White House Deputy Press Secretary Harrison Fields
                                 said in a statement. “Our justice system and Constitution are under attack and
                                 lawyers across the nation should unite behind President Trump in defense of
                                 Law and Order.”

                                 Perkins, Paul Weiss, and other firms named in this piece did not respond to
                                 requests for comment.

                                 Leaders at major firms have so far not made formal statements on these
                                 attacks. Discussions between firms on issuing a joint statement criticizing the


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                                 orders have been ongoing but many firms are loath to speak out first, according
                                 to three people.

                                 “Firms are afraid that if you’re out there and perceived as being anti-
                                 administration, that could hurt your firm,” a senior lawyer at a large firm said.
                                 “The administration is viewed as very punitive and retributive.”

                                 “They’re just scared of retribution,” a senior lawyer at another firm said.
                                 “There’s a lot of fear in Big Law right now.”

                                 The administration hasn’t provided any visibility into which additional firms
                                 they might target, and going after entire firms for the actions of one or two
                                 former partners certainly makes it harder for firm leaders to determine what
                                 actions could land them on the blacklist. But perhaps that’s the point.

                                 “If you want to put a head on a spike in the city square in order to deter people
                                 from crossing the ruler, it really doesn’t matter if the person’s head is of
                                 someone innocent or guilty,” the former major firm partner said.

                                 Frustrated by the lack of outcry from leadership, associates at dozens of major
                                 firms have begun circulating an open letter criticizing the administration for
                                 attempting to “bully corporate law firms out of engaging in any representation
                                 that challenges the administration’s aims” and calling on their employers to do
                                 the same. More than 300 associates have anonymously signed the letter since it
                                 went live about a week ago.
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                                 Rachel Cohen, an associate at Skadden Arps who helped organize the letter and
                                 spoke to POLITICO in her personal capacity, said she wants to see a “critical
                                 mass” of large firms in the country put out a statement expressing their
                                 commitment to continuing to represent “all sides of the coin” even when one
                                 side is opposed to the interests of the administration.

                                 “It is imperative for rule of law in this country that lawyers not be associated
                                 with the interests that they represent or not have those imputed to them,” she
                                 said. “Because if we don’t have that and we have a vindictive government at the
                                 federal level targeting attorneys for providing representation, then we don’t



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                                      have checks and balances. We don’t have the judiciary or the court system in
                                      the way that it’s intended to function.”

                                      Big Law has not been completely absent in fighting Trump since January.
                                      Several firms are involved in ongoing litigation against the administration
                                      representing a variety of clients. WilmerHale represents a group of fired
                                      inspectors general challenging their removal; Hogan Lovells and Jenner &
                                      Block are seeking to block executive orders restricting federal funds from
                                      hospitals that provide gender-affirming care; Arnold & Porter is working with
                                      civil rights groups to challenge potential restrictions on birthright citizenship.
                                      But whether there will be a chilling effect as a result of the Perkins and Paul
                                      Weiss orders remains to be seen.

                                      Other firms are willing to work with the president directly. New York firm
                                      Sullivan and Cromwell accepted Trump as a client earlier this year and will
                                      manage the appeal of his criminal hush money conviction after several
                                      members of Trump’s defense team found new employment within his
                                      administration.

                                      There’s also the acknowledgement in some corners of the legal community that
                                      what’s bad for Perkins, Covington or Paul Weiss might be good for their
                                      competitors. An exodus of clients from firms in the administration’s crosshairs
                                      means more business up for grabs, especially if you’re a firm who can advertise
                                      closer ties to the White House, one lawyer said.

                                      And the business of law is, at the end of the day, a business. Firm leaders have
                                      a fiduciary duty to their employees and no one wants to be the one holding the
                                      reins when a firm goes under.

                                      Cohen, the Skadden associate who helped organize the open letter, disputes
                                      that premise.

                                      “What’s crucial for everyone in this industry to remember is that silence is not
                                      going to protect you,” she said. “And it is a much, much better business
                                      decision if the industry as a whole rejects this type of targeting than it is to be
                                      silent and hope that the president doesn’t pull your name out of the hat next.”


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                                      Daniel Lippman contributed reporting.
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